    Case 2:05-cr-00132-WKW-CSC Document 177 Filed 10/20/21 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
       v.                                 )     CASE NO. 2:05-CR-132-WKW
                                          )               [WO]
JOHN EDWARD WHITE                         )

                                     ORDER

      Defendant, who is serving a 120-month sentence on his federal conviction,

has a projected release date of January 12, 2022. See Find an Inmate, Federal Bureau

of Prisons, https://www.bop.gov/inmateloc/ (last visited Oct. 20, 2021); (Doc.

# 132). Defendant wants to be released today. (Doc. # 174.) However, immediate

release is not warranted because this court lacks authority to open the prison gates

for him. Accordingly, Defendant’s motion for immediate release (Doc. # 174) is

due to be denied. (Doc. # 174.)

      “[C]ourts are generally forbidden from altering a sentence once it becomes

final.” United States v. Bryant, 996 F.3d 1243, 1251 (11th Cir. 2021), petition for

cert. filed, No. 20-1732 (U.S. June 15, 2021). Exceptions to this general prohibition

lie “only when authorized by a statute or rule.” United States v. Puentes, 803 F.3d

597, 606 (11th Cir. 2015) (citation omitted). Defendant has not cited a statute or

rule that would authorize the court to order his immediate release. He contends only

that there are “new laws” that take effect on November 1, 2021, that will “reduce
    Case 2:05-cr-00132-WKW-CSC Document 177 Filed 10/20/21 Page 2 of 2




[his] time.” (Doc. # 174.) Should there exist such a statute or rule, Defendant may

refile his motion when it becomes effective; any motion also should identify the

applicable statute or rule. At present, Defendant has shown no grounds and has cited

no authority that would permit the court to order his immediate release from prison.

      Accordingly, it is ORDERED that Defendant’s motion for immediate release

(Doc. # 174) is DENIED.

      DONE this 20th day of October, 2021.

                                              /s/ W. Keith Watkins
                                         UNITED STATES DISTRICT JUDGE




                                         2
